                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )  No. 6:21-cv-00016
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit this Court’s Final Judgment of June 10, 2022, ECF No. 241, as well

as all associated opinions and orders.


Dated: June 13, 2022                        Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE
       I certify that the total number of words in this motion, exclusive of the matters designated

for omission, is 37, as counted by Microsoft Word.


                                             /s/ Adam D. Kirschner
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                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on June 13, 2022.


                                             /s/ Adam D. Kirschner
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